PS-8
8/88
                              UNITED STATES DISTRICT COURT
                                          for the
                           EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Joseph Richard O'Brien                                             Docket No. 5:20-CR-00223-D-2

                           Petition for Action on Conditions of Pretrial Release

    COMES NOW Allison G. Carlino, U.S. Probation Officer of the court, presenting an official report
upon the conduct of defendant, Joseph Richard O'Brien, who was placed under pretrial release supervision
by the Honorable Robert T. Numbers, II, sitting in the Court at Raleigh, on the 7th day of July, 2020.

    On July 9, 2020, the court amended the defendant’s location monitoring from RF location monitoring
with curfew to GPS monitoring with curfew.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

On July 7, 2020, the defendant appeared before the court and was ordered to be placed on a curfew with
RF location monitoring as part of his pretrial release conditions. On July 9, 2020, the court amended the
defendant’s location monitoring to GPS with a curfew. At the request of U.S. Probation in South
Carolina, in order to allow the offender to travel overnight for work, it is necessary that his location
monitoring be amended to stand alone GPS monitoring.

PRAYING THAT THE COURT WILL ORDER that the defendant’s location monitoring be amended
to stand alone GPS monitoring to allow the defendant to travel for work and his location be monitored.



Reviewed and approved,                                   I declare under penalty of perjury that the foregoing
                                                         is true and correct.


/s/ Eddie J. Smith                                       /s/ Allison G. Carlino
Eddie J. Smith                                           Allison G. Carlino
Supervising U.S. Probation Officer                       U.S. Probation Officer
                                                         150 Rowan Street Suite 110
                                                         Fayetteville, NC 28301
                                                         Phone: 910-354-2548
                                                         Executed On: October 1, 2020

                                          ORDER OF THE COURT

Consideredand
Considered   andordered   theOctober
                  orderedon    _______1,day
                                 May 15, 2020
                                          2015
                                            of __________________,
                                                  . It is further ordered2020, and document
                                                                          that this ordered filed and
                                                                                               shall bemade
                                                                                                        filed part
                                                                                                              and
of thearecords
made            in the
        part of the    aboveincase.
                    records    the above case.

 ________________________________
 Robert T. Numbers, II
____________________________________
Robert T. Numbers, II
United States Magistrate Judge
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